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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
Plaintiff,
VS

KENNETH GRAYSON, Criminal No: 2:21-MJ-00155-1-LL

Defendant.

ORDER APPOINTING COUNSEL

The Court, upon a showing that the defendant is financially unable to employ counsel and
does not wish to waive his/her right to the appointment of counsel, attorney
STANLEY W. GREENFIELD is appointed as counsel for defendant KENNETH GRAYSON

pursuant to provisions on the Criminal Justice Act, 18 U.S.C §3006A.

This appointment is effective the 5th day of February, 2021, nuwe er sane 1 fae [ Aoas

 

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United States Magistrate Judge
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